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     SARAH LANCASTER
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,     )       CASE NO.    2:08-CR-00392 GEB
                                   )
11                  Plaintiff,     )
                                   )
12        v.                       )
                                   )
13   SARAH LANCASTER, et. al.      )       ORDER TO EXONERATE
                                   )       BOND
14                                 )
                    Defendants.    )
15   ______________________________)
16
          WHERE AS, on January 23, 2009, this Court ordered that defendant
17
     SARAH LANCASTER be detained for violating the conditions of her
18
     pretrial release, and
19
          WHERE AS, defendant SARA LANCASTER was remanded on January 23,
20
     2009, pursuant to the afore-mentioned detention order,
21
          IT IS THEREFORE ORDERED, that the unsecured Appearance Bond,
22
     executed by Paul Lancaster, and filed with this court on September 25,
23
     2008, be exonerated.
24
     DATED: January 28, 2009
25
                                                  /s/ Gregory G. Hollows
26
                                               Honorable Gregory G. Hollows
27                                             UNITED STATES MAGISTRATE JUDGE
28   lancaster.exo

                                           1
